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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

 Elbert Dawkins, individually and              )
 on behalf of all others similarly situated,   ) Case No.: 22-cv-3617-PKC-TAM
                                               )
                        Plaintiff,             )
                                               )
        vs.                                    )
                                               )
                                               )
                                               )
 Schott NYC Corp.,                             )
                        Defendant.             )
                                               )
                                               )


          PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HIS
         OPPOSITION TO DEFENDANT SCHOTT NYC CORP.’S MOTION
                             TO DISMISS




                                                         STEIN SAKS, PLLC

                                                         /s/ Kenneth Willard_______
                                                         Kenneth Willard, Esq.
                                                         One University Plaza, Ste. 620
                                                         Hackensack, NJ 07601
                                                         Ph: 201-282-6500
                                                         Fax: 201-282-6501
                                                         kwillard@steinsakslegal.com
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 I.     INTRODUCTION

        Defendant Schott NYC Corp. (“Schott”) seeks to dismiss of this case brought Title III of

 the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12182, et seq., and the New York City

 Human Rights Law (“NYCHRL”), N.Y.C. Admin. Code § 8-101 et seq., on several different

 grounds. Defendant argues that Plaintiff Elbert Dawkins (“Dawkins”) does not have standing to

 sue under Article III of the U.S. Constitution because Plaintiff has not plausibly alleged that he

 suffered any past injury, based on the generalized allegations of access barriers in the Complaint,

 nor has he plausibly alleged an intent to return to the subject website, www.schottnyc.com (the

 “Website”). Defendant further argues that Plaintiff has not stated a claim, that this Court cannot

 exercise supplemental jurisdiction over Plaintiffs’ NYCHRL claims, and that Plaintiff cannot

 plead punitive damages based on willfulness under the NYCHRL. As will be discussed further

 below, these arguments are without merit.

 II.    FACTUAL BACKGROUND

        On April 2, 2022 and April 14, 2022, Plaintiff visited the Website and attempted to navigate

 it using NonVisual Desktop Access (“NVDA”) screen-reading software. See Plaintiff Elbert

 Dawkins Affidavit (“Dawkins Affidavit”), ⁋⁋ 4, 9; see also Dkt. # 1, ⁋⁋ 23, 24. Plaintiff is

 interested in the Website because he is interested in learning more about the jackets for sale on the

 Website, and is specifically looking to purchase the classic perfecto leather jacket because of its

 iconic look. See Dawkins Affidavit, ⁋⁋ 6, 7, 8. Plaintiff first found out about the Website through

 a Vice news article entitled, “The First Wild One.” See Id. at ⁋ 5. Plaintiff remains interested in

 the Website because of his specific interest in purchasing the classic perfecto leather jacket,

 because he wants to know more about the products offered for sale on the Website and is interested

 in promotional offers on the Website. See Id. at ⁋ 11.



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        While he was visiting the Website, Plaintiff encountered several access barriers that

 prevented him from enjoying the Website as sighted users do. See Dkt. # 1, ⁋⁋ 24, 29, 32; see also

 Dawkins Affidavit, ⁋ 10. Specifically, Plaintiff encountered a host of broken links that prevented

 him from navigating away from dead-ends in the virtual world; missing alt. text that failed to

 provide any description of graphical images; missing label or title elements that failed to describe

 webpages; and duplicate title elements that failed to distinguish between webpages. See Dkt. # 1,

 ⁋⁋ 25, 26, 27, 28.

        Additionally, when he was visiting the Website, Plaintiff could not access the submenus

 on the Website because they were inaccessible with a keyboard. Dawkins Affidavit, ⁋ 10a.

 Plaintiff also had trouble browsing items for sale because they were mislabeled and read out to

 Plaintiff as letters and numbers which Plaintiff found frustrating. Id. at ⁋ 10b. Plaintiff was also

 unable to access pricing and could not determine type, size and fit for specific items using his

 keyboard. Id. at ⁋⁋ 10c., 10d. When Plaintiff attempted to add a jacket to his shopping cart, the

 shopping cart contained a drop-down menu that did not announce itself as in a collapsed or

 expanded state, so Plaintiff was unable to check out the jacket. Id. at ⁋ 10e. Finally, Plaintiff was

 unable to use the telephone number provided on the Website in order to complete his purchase

 because the phone number was merely provided in plaint text and was therefore inaccessible to

 Plaintiff using his screen reader. Id. at ⁋ 10f.

         Plaintiff intends to return to the Website because he is interested in learning about products

 for sale on the Website, specifically including the classic perfecto leather jacket, and he is also

 interested in learning more about promotional offers on the Website. Dawkins Affidavit, ⁋ 11.

 III.   STANDARD OF REVIEW




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        “A case is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(1)

 when the district court lacks the statutory or constitutional power to adjudicate it.” Makarova v.

 United States, 201 F.3d 110, 113 (2d Cir. 2000)(citing Fed. R. Civ. P. 12(b)(1)). While the

 standard of review for a motion to dismiss under Rule 12(b)(1) for lack of subject matter

 jurisdiction and under Rule 12(b)(6) for failure to state a claim are inherently similar,” a court

 resolving a Rule 12(b)(1) motion to dismiss may, unlike the resolution of a Rule 12(b)(6) motion,

 “refer to evidence outside the pleadings.” Maciel v. BNW of N. Am. LLC, No. CV 20-458 (JS)

 (AKT), 2021 U.S. Dist. LEXIS 34311, at *19 (E.D.N.Y. Feb. 23, 2021)(citing Makarova, 201 F.3d

 at 113)(internal citations omitted))(other citations omitted). Moreover, “[a] plaintiff asserting

 subject matter jurisdiction has the burden of proving by a preponderance of the evidence that it

 exists.” Makarova, 201 F.3d at 113 (internal citations omitted).

        The Second Circuit draws a distinction between two types of Rule 12(b)(1) motions

 challenging subject matter jurisdiction: facial challenges and fact-based challenges. Carter v.

 HealthPort Techs., LLC, 822 F.3d 47, 56-57 (2d Cir. 2016); see also Katz v. Donna Karan Co.,

 L.L.C., 872 F.3d 114, 119 (2d Cir. 2017). A facial challenge is “based solely on the allegations of

 the complaint or the complaint and exhibits attached to it.” Carter, 822 F.3d at 56. Under a facial

 challenge, a court must “allege[s] facts that affirmatively and plausibly suggest that [the plaintiff]

 has standing to sue.” 822 F.3d at 56 (citations and internal quotations omitted). In order to make

 that determination, a court must accept the complaint’s allegations as true “and draw[ ] all

 reasonable inferences in favor of the plaintiff.” Id. at 57 (citation omitted).

 IV.    LEGAL ARGUMENT

      A. PLAINTIFF’S DIFFICULTIES IN NAVIGATING THE WEBSITE AND HIS
 INABILITY TO SUCCESSFULLY OBTAIN INFORMATION ESTABLISH INJURY-IN-
 FACT

        i. Article III Standing in the Context of the ADA

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        Article III of the U.S. Constitution limits the jurisdiction of federal courts to “cases” and

 “controversies,” which is rooted in the concept of standing. See Bautz v. ARS Nat’l Servs., 226 F.

 Supp. 3d 131, 137 (E.D.N.Y. 2016). In order to have standing to sue in federal court, “(1) the

 plaintiff must have suffered an injury-in-fact; (2) there must be a causal connection between the

 injury and the conduct at issue; and (3) the injury must be likely to be redressed by a favorable

 decision.” Cooper v. U.S. Postal Serv., 577 F.3d 479, 489 (2d Cir. 2009). The injury-in-fact must

 be “concrete and particularized,” and “actual or imminent, not conjectural or hypothetical.” Lujan

 v. Defs. of Wildlife, 504 U.S. 555, 560-61, 112 S. Ct. 2130 (1992). “For an injury to be

 ‘particularized,’ it ‘must affect the plaintiff in a personal and individual way.’” Spokeo, Inc. v.

 Robins, 136 S. Ct. 1540, 1548 (2016)(quoting Lujan, 504 U.S. at 560 n.1). “To be ‘concrete’ an

 injury ‘must actually exist’: the injury must be ‘real’ and not ‘abstract.’” Laufer v. Laxmi & Sons,

 LLC, No. 1:19-CV-1501 (BKS/ML), 2020 U.S. Dist. LEXIS 216752, at *3-4 (N.D.N.Y. Nov. 19,

 2020)(quoting Spokeo, 136 S. Ct. at 1548).

        In order to establish standing for injunctive relief, a plaintiff has the additional burden of

 showing that she “has sustained or is immediately in danger of sustaining some direct injury as the

 result of the challenged … conduct.” City of Los Angeles v. Lyons, 461 U.S. 95, 101-02, 103 S.

 Ct. 1660, 75 L. Ed. 2d 675 (1983)(internal quotation marks and citation omitted); see Kreisler v.

 Second Ave. Diner Corp., 731 F.3d 184, 187 (2d Cir. 2013)(“Plaintiffs seeking injunctive relief

 must also prove that the identified injury in fact presents a ‘real and immediate threat of repeated

 injury.’)(quoting Shain v. Ellison, 356 F.3d 211, 215 (2d Cir. 2004)).

        In the ADA context, the Second Circuit has found standing “where (1) the plaintiff alleged

 past injury under the ADA; (2) it was reasonable to infer that the discriminatory treatment would

 continue; and (3) it was reasonable to infer, based on the past frequency of plaintiff's visits and the



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 proximity of defendants’ restaurants to plaintiff's home, that plaintiff intended to return to the

 subject location.” Kreisler v. Second Ave. Diner Corp., 731 F.3d 184, 187-88 (2d Cir. 2013). “To

 satisfy standing in ADA website cases specifically, courts in this district have required the plaintiff

 to allege certain facts in detail, including when they attempted to access to the website, what they

 were attempting to do on the website, the specific barriers that prevented them from gaining access,

 and how they intend to utilize the website in the future.” Angeles, No. 20-cv-10167 (AJN), 2021

 U.S. Dist. LEXIS 182317 at *3-4 (citing cases).

        “In reviewing standing under the ADA, a broad view of constitutional standing is

 appropriate because private enforcement suits are the primary method of obtaining compliance

 with the Act.” Camacho v. Vanderbilt Univ., 2019 U.S. Dist. LEXIS 209202, at *25 (S.D.N.Y.

 Dec. 4, 2019). The threshold for Constitutional standing is appreciably lower on a 12(b)(1) motion

 than it is, for example, on a motion under 12(b)(6). See Thompson v. Equifax Info. Servs. LLC,

 No. 20-CV-6101 (RPK) (ST), 2022 U.S. Dist. LEXIS 32935, at *13-14 (E.D.N.Y. Feb. 24,

 2022)(“Yet, here, we are at the pleading stage where general factual allegations of injury are

 sufficient to plead standing.”); see also Harry v. Total Gas & Power N. Am., Inc., 889 F.3d 104,

 110 (2d Cir. 2018)(“It is well established in principle that the pleading standard for constitutional

 standing is lower than the standard for a substantive cause of action.”).

        ii. Caselaw in this Jurisdiction on Article III Standing in the Context of the ADA

        The Second Circuit’s most recent pronouncement on ADA standing is Calcano v.

 Swarovski North America Ltd., 36 F.4th 68 (2d Cir. 2022). Consolidating a series of ADA cases

 for appeal, the Circuit Court found that the plaintiffs had not established standing based on several

 deficiencies found in their complaints. See Calcano, 36 F.4th at 71-73, 75. Specifically, the

 Circuit Court found the allegations in the complaints merely parroted the allegations in Kreisler



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 where the court found standing, and that many of the specific allegations in the complaints

 surrounding intent to return were problematic because they were rife with editorial errors and

 implausible allegations. See Calcano, 36 F.4th at 76 (returning to a Kohl’s store that doesn’t exist,

 a Banana Republic store for food, and visiting a store in the Columbus Circle, Manhattan from the

 Bronx in order to purchase a gift card with no demonstrated interest in). 36 F.4th at 77. The court

 found this “Mad-Libs style” of complaint drafting implausible, which was only further undermined

 by the serial nature of the litigation. See Id. at 76-77 (“‘[J]udicial experience and common sense’

 suggest that the errors, oddities, and omissions in the complaints are a result of their mass

 production, and they render each Plaintiff's cookie-cutter assertion of standing implausible.”). The

 Circuit Court further noted that “all of these plans depend on the availability of braille gift cards

 even though Plaintiffs never explain why they want those cards in the first place.” Id. at 77.

 Finally, the plaintiffs “provide any details about their past visits or the frequency of such visits.”

 Id. at 76 (emphasis in original).

        Even after Calcano, however, courts in this jurisdiction continue to find standing in

 standalone website cases. For example, the court in Tavarez v. Moo Organic Chocolates, LLC,

 No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 (S.D.N.Y. Nov. 21, 2022) found that the

 plaintiff established standing where he alleged “three dates on which Plaintiff accessed

 Defendant’s website, the specific product Plaintiff allegedly seeks to buy, his habit of consuming

 chocolate [offered for sale on the website], and characteristics of Defendant’s Almond Mini Bars

 that he finds attractive.” Tavarez, No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *9-

 10. The court distinguished these allegations from Calcano, where the plaintiffs “‘fail[ed] to

 provide any details about [plaintiffs’] past visits’ to defendants’ public accommodations, the

 frequency of such visits, which items they purchased, or why they wanted to purchase certain items



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 from the defendants.” No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *10. The court

 also found that the plaintiffs had adequately alleged past injury based on allegations that he visited

 the website on three separate dates and encountered certain specified difficulties. Id. at *7. Finally,

 despite the court’s misgivings about the potential problems created with serial litigation,

 mentioned in a footnote with a reference to Calcano, the court found that the plaintiff had

 adequately alleged intent to return with a demonstrated interested in Almonds Mini Bars and his

 habit of eating chocolate. See Id. at *7-8, *8 n.6. Rather than dismiss the case, the court ordered

 jurisdictional discovery. See Id. at *11.

        Tavarez relied on Sanchez v. NutCo, Inc., No. 20-CV-10107 (JPO), 2022 U.S. Dist. LEXIS

 51247 (S.D.N.Y. Mar. 22, 2022). That court found standing where the plaintiff alleged that he

 was “unable to purchase pistachio nuts and other snack foods, take advantage of discounts and

 promotions, and understand different product details — because of barriers on the Website.”

 Sanchez, No. 20-CV-10107 (JPO), 2022 U.S. Dist. LEXIS 51247 at *5. The court found past

 injury based on allegations of not being able to “ascertain the price or other details of products on

 the Website because the Website was not compatible with his screen-reading software, and the

 Website provided no indication when an item was successfully added to his online cart.” No. 20-

 CV-10107 (JPO), 2022 U.S. Dist. LEXIS 51247 at *5. Finally, as Tavarez did, the Sanchez court

 found that it was reasonable to infer that the violations would continue based on the plaintiff’s past

 articulated visits to the website and that it had not been remediated. See Id. at *7; see also Tavarez,

 No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *8-9

        Sanchez in turn relied on Camacho v. Vanderbilt Univ., 2019 U.S. Dist. LEXIS 209202

 (S.D.N.Y. Dec. 4, 2019). That court found that the plaintiff had adequately pled injury where he

 attempted to learn more online about the educational institution he planned on visiting to see if he



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 wanted to attend university there, but could not because of various access barriers on the website.

 See Camacho, 2019 U.S. Dist. LEXIS 209202 at *26-29. The court found past injury based on

 allegations that the website’s “navigation tabs were incompatible with his screen-reading software,

 and [that plaintiff was] unable to utilize the Website’s net price calculator because that page was

 also incompatible with his screen-reading software.” See 2019 U.S. Dist. LEXIS 209202 at *26.

 The court further found a reasonable inference of returning to the website based on past visits to

 the website and the plaintiff’s inability to navigate it using screen reading software. See Id. at *26-

 27. Finally, the court found that the plaintiff had adequately alleged intent to return based on his

 desire to learn more about the university by visiting its online website. See Id. at *28-29.

        The court rejected the defendant’s arguments that filing over 50 other similar ADA lawsuits

 against universities undermined the plaintiff’s intent to return because he could not engage in such

 “an expansive college tour.” See Camacho, 2019 U.S. Dist. LEXIS 209202 at *29-32 (noting

 “there is ‘nothing inherently wrong with filing duplicative lawsuits against multiple defendants if

 the harms to be remedied do exist and are indeed identical.’” ). Noting that the question was not

 whether the plaintiff intended to return to each of the university campuses, but to their websites,

 the court concluded, “The Court does not doubt that it would be plausible for Plaintiff to visit the

 websites of all 50 schools, if they were accessible.” 2019 U.S. Dist. LEXIS 209202 at *30-31.

        Tavarez also relied on a case in which this firm served as counsel, Angeles v. Grace Prods.,

 No. 20-cv-10167 (AJN), 2021 U.S. Dist. LEXIS 182317 (S.D.N.Y. Sep. 23, 2021). That court

 found standing where the plaintiff alleged an approximate date of when she visited the website,

 October 2020, that she was interested in purchasing the chemical-free beauty products offered for

 sale on the website, and that she encountered various barriers to access while visiting the website,

 including that “1) her screen-reading software was unable to discern which products were on the



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 screen and distinguish between different screens on the website due to the failure of the website to

 adequately describe its content and (2) she encountered problems with broken links that prevented

 her from using the screen reader to return to her search.” Angeles, No. 20-cv-10167 (AJN), 2021

 U.S. Dist. LEXIS 182317 at *4-5. The court specifically rejected the idea that the plaintiff had to

 express interest in a particular product to satisfy Article III, reasoning, “The central allegation in

 her complaint is that she went to Defendant’s website with the intent of making a purchase but

 was not able to properly navigate the different pages of Defendant’s website, nor was she able to

 differentiate between Defendant’s various products in order to decide which one, if any, she

 wanted to purchase.” No. 20-cv-10167 (AJN), 2021 U.S. Dist. LEXIS 182317 at *4-5.

        Other courts follow the same reasoning where the facts, as here, evince standing. See

 Walters v. Fischer Skis U.S., LLC, No. 6:21-CV-1115 (LEK/ATB), 2022 U.S. Dist. LEXIS

 142148, at *9-11 (N.D.N.Y. Aug. 10, 2022)(finding standing where the plaintiff alleged past injury

 by identifying specific access barriers on the website in the “‘Remember’ and ‘Compare’ buttons,

 the cart confirmation window, and the ‘Freeride’ product page,” and demonstrating an intent to

 return “to research and potentially purchase products and explore the services [offered] … in

 advance of his next ski trip.”); see also Chalas v. Barlean's Organic Oils, LLC, No. 22 Civ 04178

 (CM), 2022 U.S. Dist. LEXIS 211816, at *5-9 (S.D.N.Y. Nov. 22, 2022)(finding standing where

 the plaintiff alleged various access barriers in detail and demonstrated an interest in the stomach

 repair supplements offered for sale on the website for her cousin’s personal needs).

        iii. Plaintiff Has Established All Three Elements of Article III Standing in the Context
 of the ADA

        Defendant offers no contravening evidence of its own to undermine Plaintiff’s standing,

 and limits its 12(b)(1) motion to a facial challenge of the allegations of the Complaint. Those




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 allegations, as well as Plaintiff’s Affidavit, establish all three elements of Article III standing in

 the context of injunctive relief under the ADA.

                a. Plaintiff Has Established Past Injury

        First, Plaintiff’s allegations and supplemental affidavit establish past injury. Plaintiff

 alleges that while he was visiting the Website, Plaintiff encountered several access barriers that

 prevented him from enjoying the Website as sighted users do. See Dkt. # 1, ⁋⁋ 24, 29, 32; see also

 Dawkins Affidavit, ⁋ 10. Specifically, Plaintiff encountered a host of broken links that prevented

 him from navigating away from dead-ends in the virtual world; missing alt. text that failed to

 provide any description of graphical images; missing label or title elements that failed to describe

 webpages; and duplicate title elements that failed to distinguish between webpages. See Dkt. # 1,

 ⁋⁋ 25, 26, 27, 28.

        Plaintiff bolsters these allegations with his Affidavit. Plaintiff explains that he “was not

 able to obtain the information that I needed to review the products for sale and complete the

 purchase on the Website,” and then goes on to explain each of the specific barriers that he

 encountered. See Dawkins Affidavit, ⁋ 10. For example, Plaintiff encountered difficulties

 navigating submenus because they would not interface with his keyboard. Id. at ⁋ 10a. Plaintiff

 also had trouble browsing various items for sale because they were mislabeled and were read out

 to Plaintiff using his screen reader as letters and numbers, which Plaintiff found frustrating. Id. at

 ⁋ 10b. Plaintiff also could not sort various products using his keyboard and was unable to

 determine type, size and fit, and could not determine pricing using either his keyboard or his screen

 reader. Id. at ⁋⁋ 10c, d. When attempting to add a jacket to the shopping cart, Plaintiff was unable

 to check out because the drop-down menu associated with the shopping cart did not announce

 whether it was in a collapsed or expanded state. Id. at ⁋ 10e. Finally, Plaintiff was unable to use



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 the telephone number provided on the Website in order to complete his purchase because the phone

 number was merely provided in plaint text and was therefore inaccessible to Plaintiff using his

 screen reader. Id. at ⁋ 10f.

        Plaintiff’s specific facts concerning the difficulties associated with navigating submenus,

 browsing items for sale, sorting products by type, size and fit, determining pricing, adding a jacket

 to the shopping court and the difficulties associated with purchasing the jacket due to the problems

 with the provided submenu, and finally, Plaintiff’s difficulty in obtaining Defendant’s phone

 number to complete a purchase, sufficiently establish past injury under the ADA. See Angeles,

 No. 20-cv-10167 (AJN), 2021 U.S. Dist. LEXIS 182317 at *4-5 (finding past injury where the

 plaintiff explained in a supplemental affidavit that “1) her screen-reading software was unable to

 discern which products were on the screen and distinguish between different screens on the website

 due to the failure of the website to adequately describe its content and (2) she encountered

 problems with broken links that prevented her from using the screen reader to return to her

 search.”); see also Tavarez, No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *7

 (plaintiff established past injury by alleging that he encountered “certain difficulties” in navigating

 the website, but failing to specify which ones); see also Camacho, 2019 U.S. Dist. LEXIS 209202

 at *26 (plaintiff established past injury because the website’s “navigation tabs were incompatible

 with his screen-reading software” and plaintiff was “unable to utilize the Website’s net price

 calculator because that page was also incompatible with his screen-reading software.”); see also

 Tavarez, No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *7 (plaintiff established past

 injury by alleging that he encountered “certain difficulties” in navigating the website, but failing

 to specify which ones); see also Walters, No. 6:21-CV-1115 (LEK/ATB), 2022 U.S. Dist. LEXIS

 142148 at *9-11 (plaintiff adequately alleged past injury by identifying specific access barriers on



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 the website in the “‘Remember’ and ‘Compare’ buttons, the cart confirmation window, and the

 ‘Freeride’ product page.”); see also Chalas, No. 22 Civ 04178 (CM), 2022 U.S. Dist. LEXIS

 211816 at *6 (plaintiff adequately alleged past injury by alleging various access barriers in detail,

 specifically, that “the screen reader failed to inform Plaintiff about whether a selected item had

 been added to her shopping cart, did not provide Plaintiff with the ability to pay for items in her

 cart; and failed to read various pieces of information on the website.).

          Plaintiff has also explained that he visited the Website on two separate occasions. See

 Dawkins Affidavit, ⁋ 9 (explaining that he visited the Website on April 2, 2022 and April 14,

 2022). As the caselaw above demonstrates, this is a critical piece of the puzzle in filling out the

 larger picture of Plaintiff’s past injury. See Tavarez, No. 21-CV-9816 (VEC), 2022 U.S. Dist.

 LEXIS 210720 at *7 (finding past injury where the plaintiff alleged three separate dates when he

 visited the website); see also Angeles, No. 20-cv-10167 (AJN), 2021 U.S. Dist. LEXIS 182317 at

 *4-5 (finding past injury based in part on allegations that plaintiff visited the website in October

 2020).

          Defendant makes various arguments in response that either have no application or are

 distinguishable from the present case, especially considering the facts set forth in Plaintiff’s

 Affidavit. Defendant argues, for example, that Plaintiff has failed to articulate how any of these

 alleged access barriers harmed him, but this is plainly belied by the allegations themselves, as well

 as Plaintiff’s supplemental Affidavit. See Dkt. # 1, ⁋ 25 (unable to differentiate products due to

 missing alt. text); see also Id. at ⁋ 26 (missing label elements leading to inability to determine

 meaning or purpose of webpage); see also Id. at ⁋ 27 (identical title elements leading to inability

 to distinguish between webpages); see also Id. at ⁋ 28 (broken links lead to dead ends in page

 navigation); see also Dawkins Affidavit, ⁋ 10a (unable to navigate submenus because they are not



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 interactive with Plaintiff’s keyboard); see also Id. at ⁋ 10b. (unable to browse items for sale because

 they were mislabeled and read out as numbers and letters); see also Id. at ⁋ 10c. (unable to sort

 items for sale using keyboard and therefore unable to determine size, type and fit of various

 different products); see also Id. at ⁋ 10d. (unable to determine pricing with keyboard or screen

 reader); see also Id. at ⁋ 10e (unable to purchase a jacket after adding it to the shopping cart because

 the submenu provided with the shopping cart did not announce itself in a collapsed or expanded

 state); see also Id. at ⁋ 10f. (unable to find phone number to call Defendant directly to complete a

 purchase because the phone number was provided in plain text and therefore inaccessible to screen

 reader). Caselaw has consistently held similar problems to establish past injury. See Walters, No.

 6:21-CV-1115 (LEK/ATB), 2022 U.S. Dist. LEXIS 142148 at *9-11; see also Chalas, No. 22 Civ

 04178 (CM), 2022 U.S. Dist. LEXIS 211816 at *6.

              b. Plaintiff Has Established that it Is Reasonable to Infer that Discriminatory
        Treatment Will Continue

        Second, it is reasonable to infer that the violations on the Website will continue based on

 Plaintiff’s past visits and the continued compliance problems with the Website, which Defendant

 does not contest. See Dkt. # 1, ⁋⁋ 24, 25, 26, 27, 28, 29; see also Dawkins Affidavit, ⁋⁋ 9, 10; see

 also Tavarez, No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *8-9 (“reasonable to

 infer that this discriminatory treatment will continue because Plaintiff has visited Defendant’s

 website on three occasions, and its accessibility barriers have not been addressed as of September

 8, 2022.”); see also Sanchez, No. 20-CV-10107 (JPO), 2022 U.S. Dist. LEXIS 51247 at *7

 (reasonable to infer discriminatory treatment would continue based on allegations that the plaintiff

 “unsuccessfully tried to navigate the Website, that the site’s barriers deter him from visiting the

 Website in the future, and that he intends to visit the site again in the future when the barriers are

 cured,” noting that the plaintiff “even makes note of his particular interest in pistachio nuts.”).


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                c. Plaintiff Has Established Intent to Return to the Website

        Most importantly, Plaintiff has established an intent to return based on the information that

 is provided in Plaintiff’s Affidavit. Specifically, Plaintiff learned about Defendant’s Website from

 a Vice news article entitled, “The First Wild One.” See Dawkins Affidavit, ⁋ 5. Intrigued, Plaintiff

 decided to visit the Website and, while there, wanted to learn more about the products for sale on

 the Website. See Id. at ⁋⁋ 6, 7, 8. He is generally interested in Defendant’s jackets offered for sale

 on the Website and has a particular interest in the classic perfecto leather jacket “because of the

 iconic look.” See Id. Finally, Plaintiff states in his Affidavit that he wishes to return to the Website

 should it ever become remediated because of his interested in the Website’s products for sale, more

 specifically the classic perfecto leather jacket, and because he wants to know more about any

 promotional offers the Website may have. See Id. ⁋ 11.

        This is more than enough to satisfy the basic pleading requirements establishing intent to

 return under the ADA. See Tavarez, No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at

 *9-10 (habit of eating chocolate and interest in Almond Mini Bars); see also Walters, No. 6:21-

 CV-1115 (LEK/ATB), 2022 U.S. Dist. LEXIS 142148 at *9-11 (demonstrating an intent to return

 “to research and potentially purchase products and explore the services [offered] … in advance of

 his next ski trip.”); see also Sanchez, No. 20-CV-10107 (JPO), 2022 U.S. Dist. LEXIS 51247 at

 *5 (interest in “pistachio nuts and other snack foods, tak[ing] advantage of discounts and

 promotions, and understand[ing] different product details… .”); see also Angeles, No. 20-cv-10167

 (AJN), 2021 U.S. Dist. LEXIS 182317 at *4-5 (interest in chemical-free beauty products).

        Moreover, Plaintiff’s allegations that she is interested in learning more about Defendant’s

 products while visiting the Website are entirely consistent with caselaw. See Camacho, 2019 U.S.

 Dist. LEXIS 209202 at *26-29; see also Walters, No. 6:21-CV-1115 (LEK/ATB), 2022 U.S. Dist.

 LEXIS 142148 at *9-11. Having demonstrated an interest in Original Ben’s Pants, it is reasonable

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 to infer that Plaintiff’s interest would broaden to include other products offered by Defendant on

 the Website because of the famed durability of the Ben Davis brand. See infra, at 16.

                 d. Defendant’s Arguments Are without Merit and Calcano Is Distinguishable

         Defendant’s arguments regarding the generalized allegations of the Complaint establishing

 past injury and intent to return, see Dkt. # 18, at 12 (noting Plaintiff “does not plead any specific

 intent to return,” “does not plead the dates of past visits to the site,” “does not identify any products

 he intends to buy, or is even considering buying, that the Schott NYC Corp. sells,” and does not

 “plead why he would wait for some indeterminate time in the future to obtain these services from

 defendant…”)(emphasis in original), are specifically addressed by the Dawkins Affidavit. See

 Dawkins Affidavit, ⁋⁋ 6-11 (explaining in detail the past access barriers he encountered, the trouble

 it gave him, and, apart from being interested in buying jackets, expressing a specific interest in the

 classic perfecto leather jacket “because of the iconic look” and any promotional offers the Website

 may have).

         Moreover, nothing under Article III requires a plaintiff to show a particularized interest in

 a defendant’s unique products in order to prove intent to return. See Angeles, No. 20-cv-10167

 (AJN), 2021 U.S. Dist. LEXIS 182317 at *4-5; see also Tavarez, No. 21-CV-9816 (VEC), 2022

 U.S. Dist. LEXIS 210720 at *8, n.6 (“The Court does not intend to suggest that level of specificity

 is necessarily required to allege standing adequately in every ADA case.”). Indeed, the Tavarez

 court noted several pages of chocolate bar retailers that showed up in a Google search before ever

 getting to Defendant’s website, and yet the court found Article III standing at the pleading stage.

 No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *8, n.6, *11.

         Nevertheless, to the extent that the Complaint was lacking in this respect, Plaintiff’s

 Affidavit fills in the gaps by showing a specific interest Original Ben’s Pants because of their

 durability. See Dawkins Affidavit, ⁋⁋ 6, 7, 8. This is consistent with caselaw finding standing.

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 See Tavarez, No. 21-CV-9816 (VEC), 2022 U.S. Dist. LEXIS 210720 at *9-10; see also Walters,

 No. 6:21-CV-1115 (LEK/ATB), 2022 U.S. Dist. LEXIS 142148 at *9-11; see also Sanchez, No.

 20-CV-10107 (JPO), 2022 U.S. Dist. LEXIS 51247 at *5.

          Defendant’s argument that Plaintiff cannot establish a plausible intent to return because

 Defendant’s products are not all that distinguishable from the vast array of clothing retailers

 available on the internet is tinged with not a little irony. The Website is all too happy to flaunt the

 unique nature of Defendant’s products and the unique history of the Schott’s brand that makes it

 stand out from the rest of the pack, features that Plaintiff keys in on in his desire to purchase

 Defendant’s products. See e.g. https://www.schottnyc.com/about.cfm 1 last visited December 15,

 2022 (“Schott’s heritage is a true-blue, real-deal, piece of Americana. The iconic styles produced

 by hand for over 100 years have become infused in American culture and have served as battle

 flags for the American spirit.”); see also Id. (explaining in detail the proud history associated with

 the Schott’s brand, including its exploits in the motorcycle market when the vehicle was first

 introduced in 1928, where the “Perfecto ® [line of leather jackets] was [considered] durable,

 rugged and immediately embraced;” and also explaining that the “Schott Perfecto®” featured in

 the movie “The Wild Ones” with Marlon Brando and that “the Perfecto® was catapulted to the

 height of its popularity when a love for speed ended the life of the quintessential hoodlum [James

 Dean].”). Given the iconic history and the clear link of rebelliousness steeped in American culture

 that is associated with the Schott brand, it is not hard to imagine why Plaintiff would be as

 interested as he is in the classic perfecto leather jacket. Defendant’s casual reference to “other

 retailers” hardly does justice to this specialized product.


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   The Court may take judicial notice of this and other webpages. See Grecco v. Age Fotostock Am., Inc., No. 21-cv-
 423 (JSR), 2021 U.S. Dist. LEXIS 144023, at *7 (S.D.N.Y. Aug. 2, 2021)(“At the motion-to-dismiss stage, ‘a court
 may take judicial notice of information publicly announced on a party’s website, as long as the website’s authenticity
 is not in dispute.’”)(citation omitted). The contents of these pages are not in dispute.

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         Calcano, importantly, is distinguishable. The plaintiffs in Calcano lived in different

 boroughs (e.g. Manhattan and the Bronx), compelling the Circuit Court to express serious doubts

 about the likelihood of making an interborough trip for a single gift card, which the plaintiffs had

 alleged no particularized interest in. 36 F.4th at 76-77. By contrast, this case does not involve any

 physical location, so the Circuit Court’s concerns about interborough travel do not apply. Courts

 in this jurisdiction have specifically distinguished the convenience of online retailing from the

 inherent difficulties associated with returning to a physical location. See Camacho, 2019 U.S.

 Dist. LEXIS 209202 at *31 (“The Court does not doubt that it would be plausible for Plaintiff to

 visit the websites of all 50 schools, if they were accessible.”); see also Gonzalez v. Bahar, No. 19-

 CV-575 (LDH) (RER), 2019 U.S. Dist. LEXIS 58567 at *6-8 (E.D.N.Y. Apr. 3, 2019)(finding that

 the plaintiff’s “desire to return to the website is especially plausible because this action can be

 completed by a few keystrokes, without cost, and at any time. Unlike the plaintiffs in Lujan, [the

 plaintiff] is not alleging an intent to return to a physical location, let alone a distant one.”).

         Therefore, Defendant’s arguments that the sheer availability of online websites cuts against

 Plaintiff’s intent to return to the Website is somewhat puzzling in this respect.              Far from

 undermining Plaintiff’ intent, the ease with which Plaintiff can return to the Website with just a

 few keystrokes only provides further support for Plaintiff’s intent to return. See Camacho, 2019

 U.S. Dist. LEXIS 209202 at *31; see also Gonzalez v. Bahar, No. 19-CV-575 (LDH) (RER), 2019

 U.S. Dist. LEXIS 58567 at *6-8. This is to be specifically contrasted with Calcano, which again

 harped on the fact that interborough travel for gift cards (where not even the slightly inkling of

 interest had been alleged) was considered to be too problematic geographically. See 36 F.4th at

 76-77. No such geographic barriers exist here. So for Defendant to rely on Calcano, but then to




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 argue that the ubiquity of the internet cuts against Plaintiff’s intent to return, is confounding to say

 the least.

         Moreover, the plaintiffs in Calcano had failed to “provide any details about their past visits

 or the frequency of such visits,” and had no demonstrated interest in gift cards. See Calcano, 36

 F.4th at 76-77. By contrast, Plaintiff has supplied ample reason to conclude that he has a genuine

 interest in the Website, to wit, learning more about the products for sale including jackets, having

 a specific interest in the classic perfecto leather jacket because of its iconic look, and learning more

 about promotional offers. See supra, at 14-15. Finally, the “Mad-Libs style” of drafting that

 Calcano complained of is nowhere present in the Complaint, and involved the consideration of

 consolidated cases for purposes of appeal.

         B. PLAINTIFF HAS ADEQUATELY STATED A CLAIM

         Defendant argues that Plaintiff has failed to state a claim, but nowhere in its briefing does

 it even cite any of the basic elements of an ADA claim. See Panarra v. HTC Corp., No. 6:20-CV-

 6991-FPG, 2022 U.S. Dist. LEXIS 69951, at *6 (W.D.N.Y. Apr. 15, 2022)(“To state a claim under

 that section, a plaintiff must show that ‘(1) he or she is disabled within the meaning of the ADA;

 (2) defendants own, lease, or operate a place of public accommodation; and (3) defendants

 discriminated against him or her by denying him or her a full and equal opportunity to enjoy the

 services defendants provide.’”). Rather, Defendant repackages its standing challenges in the guise

 of a Rule 8(a)(2) challenge.

         Courts have not been receptive to these challenges, however. See Skinner v. Switzer, 562

 U.S. 521, 530, 131 S. Ct. 1289, 179 L. Ed. 2d 233 (2011)(“[A] complaint need not pin plaintiff's

 claim for relief to a precise legal theory. Rule 8(a)(2) of the Federal Rules of Civil Procedure

 generally requires only a plausible ‘short and plain’ statement of the plaintiff’s claim, not an

 exposition of his legal argument.”); see also Suntrust Mortg. v. K. Hovnanian Am. Mortg., Civil
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 Action No. 3:12cv317-JAG, 2012 U.S. Dist. LEXIS 202715, at *3 (E.D. Va. July 9,

 2012)(rejecting the defendant’s argument that “the entire suit should be dismissed for lack of

 damages and, thus, lack of standing” because the “argument confuses the standing doctrine and

 misapprehends the purpose of a Rule 12(b)(6) motion.”).

        Plaintiff’s Complaint and supplemental Affidavit amply demonstrate that Plaintiff has

 suffered an injury-in-fact by showing repeated past injuries in the form of access barriers to the

 Website. See supra, at 10-13. Based on her past issues with the Website and the Website’s

 continuing compliance problems, which Defendant does not contest, it is reasonable to infer that

 those violations will continue. See supra, at 13. Finally, Plaintiff has a demonstrated interest in

 the products offered on the Website. See supra, at 14-15. Plaintiff has standing.

        To the extent that Defendant is attempting to address any of the above pleading deficiencies

 and repackage them as a challenge on the merits, as explained above, Defendant has failed to cite

 to a single element that Defendant is challenging as inadequately pleaded in Plaintiff’s Complaint.

 Rather, Defendant makes a generalized argument, completely devoid of any citations to caselaw

 that would support that argument. A number of courts in this jurisdiction, however, have upheld

 similar claims, holding that they adequately stated claims under Rule 12(b)(6).

        Paguada v. YieldStreet Inc., 2021 U.S. Dist. LEXIS 202311 (S.D.N.Y. Oct. 20, 2021) is

 particularly on point. Assuming it addresses Defendant’s challenge (which can only be presumed),

 the court explained in response to a similar argument,

        Defendant argues that the Complaint does not plead that Defendant discriminated
        against Plaintiff by denying him a full and equal opportunity to access the Website
        and relatedly, enjoy Defendant’s services. Defendant argues that the alleged
        technical barriers Plaintiff encountered amount to mere “foot faults,” rather than
        violations of the ADA that prevented Plaintiff’s access of the Website. This
        argument is unpersuasive. At the pleading stage, the Complaint’s allegations that
        Plaintiff encountered technical barriers like a lack of page regions or landmarks,
        skipped heading levels, inaccessible PDF downloads and links that screen reading


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        software could not differentiate are sufficient to support an ADA claim. See Jaquez,
        2021 U.S. Dist. LEXIS 96067, 2021 WL 2012512, at *2 (finding that the complaint
        stated an ADA website claim where it alleged the subject website “fails to describe
        the contents of graphical images, properly label title[s], and distinguish one page
        from another, and that it contains multiple broken links and inaccurate headings”)
        (internal quotation marks omitted).

 Paguada, 2021 U.S. Dist. LEXIS 202311 at *11.

        Jaquez v. Dermpoint, Inc., No. 20-CV-7589 (JPO), 2021 U.S. Dist. LEXIS 96067

 (S.D.N.Y. May 20, 2021), relied on by Paguada, rejected an identical argument based on largely

 identical allegations (and similar to the allegations of the Complaint). Jaquez, No. 20-CV-7589

 (JPO), 2021 U.S. Dist. LEXIS 96067 at *4-5. The court explained,

        A complaint need not contain “detailed factual allegations” to survive a motion to
        dismiss, Iqbal, 556 U.S. at 678 (internal citation omitted), and the facts Jaquez does
        provide suffice to meet the pleading standard. Jaquez alleges, for example, that
        Dermpoint’s website fails to “describe the contents of graphical images,” “properly
        label title[s],” and “distinguish one page from another,” and that it contains
        “multiple broken links” and inaccurate headings. (AC ¶ 25.) Jaquez also alleges
        that the website does not provide information about image color to the screen-
        reading software, that individuals using that software are unable to add items to
        their online shopping cart, and that the website’s accessibility icon is hard to find.
        (AC ¶ 26.) Taken as true, these allegations plausibly show that Dermpoint
        discriminated against Jaquez by denying him a full and equal opportunity to use its
        website. Indeed, courts in the Second Circuit have regularly found similar
        allegations enough to satisfy the pleading standard. See, e.g., Thorne v. Formula 1
        Motorsports, Inc., No. 19-CV-1077, 2019 U.S. Dist. LEXIS 220080, 2019 WL
        6916098, at *3 (S.D.N.Y. Dec. 19, 2019) (holding that allegations that a website
        “fail[ed] to provide alternative text for images, use[d] empty links containing no
        text, and use[d] redundant, adjacent links” sufficed to state a plausible claim for
        relief); Wu v. Jensen-Lewis Co., 345 F. Supp. 3d 438, 443 (S.D.N.Y. 2018) (same).

 Jaquez, No. 20-CV-7589 (JPO), 2021 U.S. Dist. LEXIS 96067 at *4-5.

        Here, Plaintiff has alleged that he was unable to enjoy the Website as sighted users do and

 details the access barriers that he encountered, specifically, a host of broken links that prevented

 Plaintiff from navigating away from dead-ends in the virtual world; missing alt. text that failed to

 provide any description of graphical images; missing label or title elements that failed to describe

 webpages; and duplicate title elements that failed to distinguish between webpages. See Dkt. # 1,

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 ⁋⁋ 24, 25, 26, 27, 28, 29, 32. These allegations mirror those found in Paguada, Jaquez, and Thorne.

 See Paguada, 2021 U.S. Dist. LEXIS 202311 at *11; see also Jaquez, No. 20-CV-7589 (JPO),

 2021 U.S. Dist. LEXIS 96067 at *4-5; see also Thorne, No. 19-CV-1077, 2019 U.S. Dist. LEXIS

 220080, 2019 WL 6916098 at *3.

         Additionally, Plaintiff has alleged in detail the barriers that he encountered and has

 explained why those barriers prevented him from enjoying the website as sighted users do. See

 Dawkins Affidavit, ⁋⁋ 6-11; see also supra, at 12-13 (detailing the nature of the barriers

 encountered and how they prevented Plaintiff from enjoying the Website as sighted users do).

 Plaintiff has clearly stated a claim.

         C. PLAINTIFF’S NYCHRL CLAIMS SURVIVE

         Even if Plaintiff’s ADA claims are dismissed, Plaintiff’s NYCHRL claims are judged by a

 different standard and survive. This was the conclusion that the Supreme Court of New York

 recently came to when it stated,

         It is undisputed that the NYCHRL’s pleading standards are materially looser than
         the trans-substantive plausibility standard of the Federal Rules of Civil Procedure—
         or, for that matter, the CPLR’s notice-pleading standard for claims under the
         NYSHRL. (See Williams v New York City Hous. Auth., 61 AD3d 62, 65-69, 872
         N.Y.S.2d 27 [1st Dept 2009]; Vig v NY Hairspray Co., L.P., 67 AD3d 140, 145,
         885 N.Y.S.2d 74 [1st Dept 2009].) As a result, allegations that would be insufficient
         to state a federal claim might well be enough to state a cause of action under the
         NYCHRL. This difference defeats defendants’ estoppel argument.

 Pustilnik v. Battery Park City Auth., 2021 NY Slip Op 21087, 71 Misc. 3d 1058, 1069, 147

 N.Y.S.3d 357 (Sup. Ct.); see also Cabrera v. City of N.Y., 2014 NY Slip Op 30533(U), at *6-7

 (Sup. Ct.)(“However, it bears noting that contrary to defendants’ assertion, New York State courts,

 even after the decision in Ashcroft, have consistently applied the standards promulgated by New

 York State case law when confronted with a motion seeking to dismiss a cause of action pursuant

 to 42 USC 1983, on grounds that the complaint fails to state a cause of action.”).


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        Indeed, the Pustilnik court, in considering whether to reject the plaintiff’s NYCHRL claims

 on grounds of collateral estoppel after the plaintiff’s ADA claims had initially been dismissed at

 the federal level, specifically pointed out,

        The First Department has been careful to emphasize in this context that estoppel
        will apply only where the federal court was deciding “strictly factual question[s]
        not involving application of law to facts or the expression of an ultimate legal
        conclusion,” because these factual determinations do “not implicate any of the
        several ways” in which analysis of NYCHRL claims is “not identical to their federal
        and state counterparts.”

 2021 NY Slip Op 21087, 71 Misc. 3d at 1069-70.

        In rejecting the defendant’s collateral estoppel argument, the court noted that the federal

 district court’s 12(b)(6) dismissal was just that, a legal determination regarding the sufficiency of

 the allegations that spoke more to the difference in the two pleading standards than it did to factual

 determinations by the court. See Pustilnik, 2021 NY Slip Op 21087, 71 Misc. 3d at 1070. The

 court explained,

        Here, on the other hand, the question for the federal district court was whether the
        allegations of Pustilnik’s complaint could be read to raise a sufficient inference of
        discriminatory intent to state a cause of action. The district court held that
        Pustilnik’s allegations did not plausibly raise the necessary inference of
        discrimination. (See Pustilnik, 2019 U.S. Dist. LEXIS 208527, 2019 WL 6598711,
        at *4-*8.) That holding does not resolve a strictly factual question. Rather, it is
        grounded in the threshold set by federal law for when plaintiffs’ allegations should
        entitle them to proceed past the pleading stage and obtain discovery from
        defendants. The CPLR and the NYCHRL, on the other hand, set a different, lower
        threshold. As a result, the federal court’s dismissal of Pustilnik’s age-discrimination
        and disability-discrimination claims brought under federal law does not estop
        Pustilnik from relying on the same allegations to assert discrimination claims under
        the NYCHRL.

 2021 NY Slip Op 21087, 71 Misc. 3d at 1070.

        This Court should come to the same conclusion. “The CPLR and the NYCHRL … set a

 different, lower threshold.” See Pustilnik, 2021 NY Slip Op 21087, 71 Misc. 3d at 1070. As it

 was in Pustilnik, any dismissal of Plaintiff’s ADA claims necessarily involves the sufficiency of


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 the allegations of the Complaint under the comparatively more stringent ADA and FRCP. As this

 is a legal determination, collateral estoppel would not apply to Plaintiff’s NYCHRL claims and

 they must be preserved. Moreover, since Defendant does not challenge the sufficiency of the

 allegations regarding the substantive elements of Plaintiff’s ADA claims, merely mounting a

 12(b)(1) challenge, any decision against Plaintiff is necessarily without prejudice, allowing

 Plaintiff the opportunity to refile in state court if necessary. See Carter v. HealthPort Techs., LLC,

 822 F.3d 47, 54 (2d Cir. 2016)(collecting cases)(“[W]here there is a lack of Article III standing,

 ‘Article III deprives federal courts of the power to dismiss a case with prejudice.’”).

      D. PLAINTIFF IS ENTITLED TO PUNITIVE DAMAGES, CIVIL PENALTIES
 AND FINES UNDER NYCHRL

        Plaintiff is entitled to civil penalties, fines and punitive damages under the NYCHRL.

        In 2005, the New York City Council amended Administrative Code § 8-130 [a] to ensure

 “[t]he provisions of [the NYCHRL] shall be construed liberally … regardless of whether federal

 or New York state civil and human rights laws … have been so construed.” See N.Y.C.

 Administrative Code § 8-130 [a].

        Expressing concern that the NYCHRL was being too strictly construed, the
        amendment established that similarly worded state or federal statutes may be used
        as interpretive aids only to the extent that the counterpart provisions are viewed “as
        a floor below which the City’s Human Rights law cannot fall, rather than a ceiling
        above which the local law cannot rise,” and only to the extent that those state or
        federal law decisions may provide guidance as to the “uniquely broad and remedial
        purposes” of the local law (Local Law No. 85 [2005] of City of NY §§ 1, 7).

 Chauca v. Abraham, 2017 NY Slip Op 08158, 30 N.Y.3d 325, 333, 67 N.Y.S.3d 85, 89 N.E.3d

 475. Applying the newly adopted standards, the Court of Appeals of New York succinctly stated,

        [T]he standard articulated in Home Ins. requires neither a showing of malice nor
        awareness of the violation of a protected right, representing the lowest threshold,
        and the least stringent form, for the state of mind required to impose punitive
        damages. By implementing a lower degree of culpability and eschewing the
        knowledge requirement, applying this standard adheres to the City Council's liberal


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         construction mandate while remaining consistent with the language of the statute
         (see Administrative Code § 8-502 [a]).

 Chauca, 2017 NY Slip Op 08158, 30 N.Y.3d at 333-34. The court concluded that this lower

 standard is “properly reflective of the serious and destructive nature of the underlying

 discriminatory conduct and the goal of deterring ‘future reprehensible conduct’” and “encourages

 nondiscriminatory behavior and the development and application of appropriate employment

 criteria.” 2017 NY Slip Op 08158, 30 N.Y.3d at 333-34.

         Accordingly, Plaintiff’s allegations of discrimination on the basis of access barriers on the

 Website is sufficient to indicate punitive damages, civil penalties and fines under the NYCHRL.

 See Dkt. # 1, ⁋⁋ 24, 25, 26, 27, 28, 29, 32; see also Dawkins Affidavit, ⁋⁋ 10, 11. If it were not,

 Plaintiff’s additional allegation that it is Defendant’s policy not to remediate the Website in

 accordance with industry-wide standards under the ADA establishes same. See Dkt. # 1, ⁋ 31.

 V.      CONCLUSION

         For the reasons set forth above, Defendant’s motion to dismiss should be denied in its

 entirety.

 Dated: December 15, 2022                              Respectfully Submitted,

                                                       STEIN SAKS, PLLC

                                                       /s/ Kenneth Willard __________

                                                       Kenneth Willard, Esq.




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2022, I electronically filed the foregoing with the

 Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

 day on all counsel either via transmission of Notices of Electronic Filing generated by CM/ECF

 or in some other authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.

                                       /s/ Kenneth Willard________
                                       Kenneth Willard, Esq.




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